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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


FEIT ELECTRIC COMPANY, INC.,

        Plaintiff and Counterclaim-Defendant,
                                                               Case No. 13-cv-09339
                        v.
                                                           Hon. Sharon Johnson Coleman
CFL TECHNOLOGIES LLC,

        Defendant and Counterclaim-Plaintiff.




                  FEIT ELECTRIC COMPANY, INC.’S
 MOTION TO ESTABLISH PERIOD OF DAMAGES FOR U.S. PATENT NO. 6,172,464

       Plaintiff and Counterclaim-Defendant, Feit Electric Company, Inc. (“Feit Electric”)

respectfully moves this Court to establish the period of damages for U.S. Patent No. 6,172,464

(“the ’464 patent”).

       On August 8, 2019, this Court vacated its prior ruling that the ’464 patent is

unenforceable based on collateral estoppel. However, as a matter of law and equity, no damages

can accrue for the time Feit Electric and indeed all the public was on notice that the ’464 patent

was adjudged to be unenforceable. Since the decision to vacate the unenforceability ruling came

only after the expiration of the ’464 patent, there is no period for damages to accrue for

infringement of the ‘464 patent. CFLT, having acquired rights to the ’464 patent only after the

patent had expired and while it was still adjudged to be enforceable, can have no expectation to

the contrary.

       In further support, Feit Electric respectfully refers to the Memorandum filed herewith.
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Dated: July 30, 2021                   Respectfully submitted,

                                       /s/ Zaiba Baig

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 30, 2021, the foregoing document was filed via the Court’s

CM/ECF system, which will automatically serve and send email notification of such filing to all

registered attorneys of record.



                                           /s/ Zaiba Baig
                                           One of the attorneys for Feit Electric Company, Inc.
